
FRANK, Acting Chief Judge.
We affirm A.S.’s adjudication of delinquen: cy. We remand this ease, however, for correction of the sentence. Although the trial court orally pronounced that A.S.’s sentences for Counts I and II would be served concurrently, the written commitment order provides that the sentences are to run consecutively. ‘When there is a difference between a court’s oral pronouncement and a written *1039order, the oral pronouncement controls.” D.F. v. State, 650 So.2d 1097, 1098 (Fla. 2d DCA 1995). Accordingly, we remand for correction of the written order to conform to the oral pronouncement that the sentences are to run concurrently.
Remanded with instructions.
ALTENBERND and FULMER, JJ„ concur.
